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                   UNITED STATES COURT OF INTERNATIONAL TRADE



CYBER POWER SYSTEMS (USA) INC.,

                        Plaintiff,
                                                      Before: Leo M. Gordon, Judge
              v.

UNITED STATES,                                        Court No. 20-00124

                        Defendant.



                                          ORDER

       Upon consideration of Defendant’s motion in limine, ECF No. 117, Plaintiff’s

response, ECF No. 122, and all other papers and proceedings in this action; and upon

due deliberation, it is hereby

       ORDERED that Defendant’s motion in limine as to Jim Anglemeyer and Denver B.

Langaman is denied; and it is further

       ORDERED that Defendant’s motion in limine regarding Romer Pio R. Valdenarro,

Paolo Kint Cendana, and Michael Ho is denied as moot as Plaintiff has stated that it no

longer intends to call them as witnesses at trial.




                                                               /s/ Leo M. Gordon
                                                            Judge Leo M. Gordon




Dated: August 8, 2022
       New York, New York
